                           UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE TENNESSEE DIVISION

In re:                                                      Case No. 15-00283-CW3-13
         DARRYL MONTRES RANKINS
         KATIE LYNN RANKINS
                 Debtor(s)


                      Chapter 13 Trustee's Final Report and Account
       Henry E. Hildebrand, III, chapter 13 trustee, submits the following Final Report and
Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee
declares as follows:


         1) The case was filed on 01/16/2015.

         2) The plan was confirmed on 03/20/2015.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 04/03/2020.

         6) Number of months from filing to last payment: 63.

         7) Number of months case was pending: 71.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $4,900.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

        Total paid by or on behalf of the debtor                 $71,472.65
        Less amount refunded to debtor                            $1,172.65

NET RECEIPTS:                                                                                       $70,300.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                    $3,975.00
    Court Costs                                                                $310.00
    Trustee Expenses & Compensation                                          $2,316.22
    Other                                                                        $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                     $6,601.22

Attorney fees paid and disclosed by debtor:                        $0.00


Scheduled Creditors:
Creditor                                          Claim         Claim            Claim        Principal       Int.
Name                                Class       Scheduled      Asserted         Allowed         Paid         Paid
AARONS                          Unsecured             700.00        700.00           700.00        506.51         0.00
ADVANCE FINANCIAL               Unsecured             265.00           NA               NA            0.00        0.00
ASCEND FEDERAL CREDIT UNION     Unsecured             187.00        269.92             0.00           0.00        0.00
ASCEND FEDERAL CREDIT UNION     Unsecured             532.07        538.30           538.30        389.51         0.00
ATHEN LIMESTONE HOSPITAL        Unsecured                NA            NA               NA            0.00        0.00
ATHENS LIMESTONE HOSPITAL       Unsecured             833.00           NA               NA            0.00        0.00
ATHENS LIMESTONE HOSPITAL       Unsecured             657.00           NA               NA            0.00        0.00
ATHENS LIMESTONE HOSPITAL       Unsecured             543.00           NA               NA            0.00        0.00
ATHENS LIMESTONE HOSPITAL       Unsecured             274.00           NA               NA            0.00        0.00
ATHENS LIMESTONE HOSPITAL       Unsecured             154.00           NA               NA            0.00        0.00
ATLAS ACQUISITIONS LLC          Unsecured                NA         310.00             0.00           0.00        0.00
ATMOS ENERGY CORPORATION        Unsecured              75.00         75.29            75.29          54.48        0.00
BECKET AND LEE LLP              Unsecured             615.00        650.62           650.62        470.78         0.00
BRUCE MCNEILAGE                 Unsecured                NA            NA               NA            0.00        0.00
CACH LLC                        Unsecured          3,350.00       3,349.79         3,349.79      2,423.85         0.00
CENTRAL CHILD SUPPORT RECEIPTIN Priority           5,310.00       4,777.00         4,496.00      4,496.00         0.00
CENTRAL CHILD SUPPORT RECEIPTIN Unsecured                NA            NA               NA            0.00        0.00
CHECK MATE                      Unsecured             271.00           NA               NA            0.00        0.00
COFFEE COUNTY GENERAL SESSION Unsecured                  NA            NA               NA            0.00        0.00
COMCAST                         Secured                  NA            NA               NA            0.00        0.00
COMPLETE DENTAL MADISON         Unsecured             235.00           NA               NA            0.00        0.00
COVINGTON CREDIT TN0005         Unsecured             700.00        648.04           648.04        468.92         0.00
CREATIVE SMILES MURFREESBORO Unsecured                338.00           NA               NA            0.00        0.00
DECATUR LOAN COMPANY            Unsecured             300.00           NA               NA            0.00        0.00
DIRECT LOANS                    Unsecured          2,996.00            NA               NA            0.00        0.00
DIRECT TV                       Secured                  NA            NA               NA            0.00        0.00
EARLY MOMENTS                   Unsecured              58.00           NA               NA            0.00        0.00
ECMC                            Unsecured          7,500.00       6,989.35         6,989.35      5,057.38         0.00
EPBS                            Unsecured                NA       1,881.00         1,881.00      1,361.06         0.00
EXETER FINANCE LLC              Secured           17,852.00     17,039.10        17,039.10      17,039.10    1,287.37
EXETER FINANCE LLC              Unsecured                NA            NA               NA            0.00        0.00



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Scheduled Creditors:
Creditor                                        Claim         Claim         Claim        Principal       Int.
Name                              Class       Scheduled      Asserted      Allowed         Paid         Paid
FIRST AMERICAN NATIONAL BANK Unsecured                 NA            NA           NA             0.00        0.00
FREEDOM FINANCE               Unsecured          1,000.00            NA           NA             0.00        0.00
HICKORY HOLLOW KIA            Unsecured          1,000.00            NA           NA             0.00        0.00
HUNTSVILLE EMERGENCY PHYS     Unsecured             187.00           NA           NA             0.00        0.00
JEFFERSON CAPITAL SYSTEMS LLC Unsecured             628.00           NA           NA             0.00        0.00
LINEBAUGH LIBRARY             Unsecured              40.00           NA           NA             0.00        0.00
LVNV FUNDING LLC              Unsecured             528.00        563.07       563.07         407.43         0.00
MURFREESBORO RADIOLOGY        Unsecured             378.00        420.00       420.00         303.91         0.00
MURFREESBORO RADIOLOGY        Unsecured                NA            NA           NA             0.00        0.00
MURFREESBORO RADIOLOGY        Unsecured                NA            NA           NA             0.00        0.00
MURFREESBORO RADIOLOGY        Unsecured                NA            NA           NA             0.00        0.00
MURFREESBORO WATER & SEWER    Unsecured             256.00           NA           NA             0.00        0.00
PATIENT ACCOUNTING            Unsecured          2,000.00            NA           NA             0.00        0.00
PATY RYMER AND ULIN PC        Unsecured                NA            NA           NA             0.00        0.00
PIONEER CREDIT COMPANY        Secured            1,781.00            NA           NA             0.00        0.00
PIONEER CREDIT COMPANY        Unsecured                NA       1,685.00     1,685.00       1,219.24         0.00
PNC BANK NATIONAL ASSOCIATION Unsecured                NA       7,656.37     7,656.37       5,540.03         0.00
PORTFOLIO RECOVERY ASSOCIATES Unsecured             743.00        793.80       793.80         574.39         0.00
QUANTUM3 GROUP LLC            Unsecured             377.00        377.35       377.35         273.05         0.00
QUANTUM3 GROUP LLC            Unsecured                NA         626.00       626.00         452.97         0.00
QUANTUM3 GROUP LLC            Unsecured                NA         635.00       635.00         459.48         0.00
R LEE ROBERTS JR              Unsecured          1,365.00            NA           NA             0.00        0.00
RADIOLOGY OF HUNTSVILLE PC    Unsecured              33.00         33.00        33.00           23.88        0.00
RONESSA IVY                   Unsecured                NA            NA           NA             0.00        0.00
RUTHERFORD COUNTY GENERAL SE Unsecured                 NA            NA           NA             0.00        0.00
SAINT THOMAS RUTHERFORD       Unsecured             432.00           NA           NA             0.00        0.00
SANTANDER                     Unsecured         18,182.00            NA           NA             0.00        0.00
SPEEDY RAPID CASH             Unsecured             470.00        470.59       470.59         340.51         0.00
SPRINT                        Secured                  NA            NA           NA             0.00        0.00
SPRINT                        Unsecured          1,075.00            NA           NA             0.00        0.00
ST THOMAS RUTHERFORD HOSP     Unsecured          7,000.00            NA           NA             0.00        0.00
STONES RIVER CREDIT           Unsecured             700.00           NA           NA             0.00        0.00
STONES RIVER MEDICAL CENTER   Unsecured              25.00           NA           NA             0.00        0.00
SUN LOAN CO                   Unsecured             219.00           NA           NA             0.00        0.00
SUN LOAN COMPANY              Unsecured             712.00        712.00       712.00         515.20         0.00
SUNRISE ACCEPTANCE            Secured           16,059.00     16,891.62     16,891.62      16,891.62    1,833.12
TERRI CARALTON                Secured                  NA            NA           NA             0.00        0.00
TITLE MAX                     Unsecured                NA            NA           NA             0.00        0.00
UNIQUE NATIONAL COLLECTIONS   Unsecured              84.00           NA           NA             0.00        0.00
UNITED STATES TREASURY        Priority           1,100.00            NA           NA             0.00        0.00
UNIVERSITY OF NORTH ALABAMA   Unsecured          1,500.00            NA           NA             0.00        0.00
US DEPARTMENT OF EDUCATION    Unsecured          6,976.00       1,809.03     1,809.03       1,308.99         0.00
VSAC FEDERAL LOANS            Unsecured          1,172.00            NA           NA             0.00        0.00
VSAC FEDERAL LOANS            Unsecured             596.00           NA           NA             0.00        0.00
WORLD FINANCE                 Unsecured          1,122.00            NA           NA             0.00        0.00




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 Summary of Disbursements to Creditors:
                                                              Claim            Principal           Interest
                                                            Allowed                Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00             $0.00              $0.00
       Mortgage Arrearage                                      $0.00             $0.00              $0.00
       Debt Secured by Vehicle                            $33,930.72        $33,930.72          $3,120.49
       All Other Secured                                       $0.00             $0.00              $0.00
 TOTAL SECURED:                                           $33,930.72        $33,930.72          $3,120.49

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00              $0.00
        Domestic Support Ongoing                           $4,496.00          $4,496.00              $0.00
        All Other Priority                                     $0.00              $0.00              $0.00
 TOTAL PRIORITY:                                           $4,496.00          $4,496.00              $0.00

 GENERAL UNSECURED PAYMENTS:                              $30,613.60        $22,151.57               $0.00


Disbursements:

         Expenses of Administration                             $6,601.22
         Disbursements to Creditors                            $63,698.78

TOTAL DISBURSEMENTS :                                                                       $70,300.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 12/07/2020                             By:/s/ Henry E. Hildebrand, III
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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